Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 1 of 37 PageID #:61




                            Exhibit 1
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 2 of 37 PageID #:62
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 3 of 37 PageID #:63
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 4 of 37 PageID #:64
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 5 of 37 PageID #:65
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 6 of 37 PageID #:66
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 7 of 37 PageID #:67
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 8 of 37 PageID #:68
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 9 of 37 PageID #:69
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 10 of 37 PageID #:70
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 11 of 37 PageID #:71
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 12 of 37 PageID #:72
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 13 of 37 PageID #:73
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 14 of 37 PageID #:74
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 15 of 37 PageID #:75
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 16 of 37 PageID #:76
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 17 of 37 PageID #:77
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 18 of 37 PageID #:78
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 19 of 37 PageID #:79
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 20 of 37 PageID #:80
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 21 of 37 PageID #:81
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 22 of 37 PageID #:82
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 23 of 37 PageID #:83
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 24 of 37 PageID #:84
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 25 of 37 PageID #:85
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 26 of 37 PageID #:86
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 27 of 37 PageID #:87
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 28 of 37 PageID #:88
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 29 of 37 PageID #:89
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 30 of 37 PageID #:90
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 31 of 37 PageID #:91
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 32 of 37 PageID #:92
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 33 of 37 PageID #:93
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 34 of 37 PageID #:94
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 35 of 37 PageID #:95
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 36 of 37 PageID #:96
Case: 1:16-cv-01227 Document #: 1-1 Filed: 01/27/16 Page 37 of 37 PageID #:97
